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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    LANCE WILLIAMS,                                 Case No. CV 20-10304-PA (KK)
11                              Petitioner,
12                        v.                          JUDGMENT
13    R. FARLEY,
14                              Respondent.
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17         Pursuant to the Order Accepting Findings and Recommendation of United
18   States Magistrate Judge,
19         IT IS HEREBY ADJUDGED that the First Amended Petition is DENIED
20   and this action is DISMISSED with prejudice.
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22   Dated: September 25, 2021
                                              PERCY ANDERSON
23                                            United States District Judge
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